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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 STELLA PRONESTI,                       HONORABLE JEROME B. SIMANDLE

                   Plaintiff,
                                                 Civil Action
       v.                                   No. 15-6319 (JBS/KMW)

 NATIONAL CREDIT ADJUSTERS,
                                                 DEFAULT JUDGMENT
                   Defendant.


     This matter comes before the Court by way of Plaintiff

Stella Pronesti’s (hereinafter, “Plaintiff”) unopposed motion

for default judgment [see Docket Item 5]; and the Court having

considered Plaintiff’s submissions; and for the reasons

explained in the Memorandum Opinion of today’s date; and for

good cause shown;

     IT IS this      20th    day of      April     , 2016, hereby

     ORDERED that Plaintiff’s motion for default judgment

[Docket Item 5] shall be, and hereby is, GRANTED; and it is

further

     ORDERED that a DEFAULT JUDGMENT shall be entered in favor

of Plaintiff Stella Pronesti and against Defendant National

Credit Adjusters in the amount of $2,320, together with interest

consistent with law.

                                         s/ Jerome B. Simandle
                                        JEROME B. SIMANDLE
                                        Chief U.S. District Judge
